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    A Limited Liability Partnership
 2  Including Professional Corporations
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 7 Attorneys for Defendant,
   West Thomas Partners, LLC
 8
 9
                                    UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
12
   John Forrett, individually, and on behalf      Case No. 5:22-cv-02048-NC
13 of those similarly situated,
                                                  JOINT STIPULATION AND
14                     Plaintiff,                 ORDER TO FURTHER EXTEND
                                                  CASE DEADLINES
15 vs.
                                                  The Honorable Nathanael M.
16 West Thomas Partners, LLC d/b/a GFB,           Cousins
17                    Defendant.
                                                  Filed: March 30, 2022
18                                                Summons Served: May 10, 2022
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                                                -1-                      5:22-cv-02048-NC
     SMRH:4874-6374-4047.2                                  JOINT STIPULATION AND ORDER TO
                                                           FURTHER EXTEND CASE DEADLINES
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 1                                        STIPULATION
 2            Pursuant to Local Rules 6-2 and 7-12, Plaintiff John Forrett (“Plaintiff”),
 3 individually, and on behalf of those similarly situated, and Defendant West Thomas
 4 Partners, LLC (“Defendant” or “West Thomas”) jointly stipulate to continue the
 5 Case Management Conference, from the current September 7, 2022, date to
 6 September 28, 2022, because the hearing on Defendant’s motion to dismiss is set for
 7 September 28, 2022. If the Court is inclined to grant this continuance, the Parties
 8 respectfully request the Court to extend out related case management deadlines
 9 accordingly, by three weeks: the last day for the parties to meet and confer as to case
10 management conference issues, from August 17, 2022 to September 7, 2022; and
11 the last day to file a Rule 26(f) Report, complete initial disclosures or state objection
12 in Rule 26(f) Report, and file a Joint Case Management Conference Statement, from
13 August 31, 2022 to September 21, 2022. The Parties believe that good cause exists
14 based on the following:
15            WHEREAS, the instant case was filed by Plaintiff on March 30, 2022;
16            WHEREAS, the Parties previously stipulated and the Court granted the
17 stipulation to extend the last day to file a Rule 26(f) Report, complete initial
18 disclosures or state objection in Rule 26(f) Report and file Case Management
19 Statement to August 31, 2022, and changed the date of the Initial Case Management
20 Conference to September 7, 2022;
21            WHEREAS, West Thomas filed its motion to dismiss on August 19, 2022
22 with a hearing date of September 28, 2022;
23            WHEREAS, the Parties seek to move the deadlines in order to have the case
24 management conference on the same day as the hearing for the motion to dismiss;
25 and
26            NOW THEREFORE, it is hereby stipulated by and between Plaintiff and
27 West Thomas, that: the last day for the Parties to meet and confer as to case
28 management issues is September 7, 2022; and the last day to file a Rule 26(f)
                                         -2-                           5:22-cv-02048-NC
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                                                              FURTHER EXTEND CASE DEADLINES
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 1 Report, complete initial disclosures or state objection in Rule 26(f) Report and file
 2 Case Management Statement is September 21, 2022; and the date of the Initial Case
 3 Management Conference is September 28, 2022.
 4
 5   Dated: August 23, 2022
 6                              Respectfully submitted,
 7
                                SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 8
 9
                                By                   /s/ Christopher Van Gundy
10
                                                   CHRISTOPHER VAN GUNDY
11                                                  MICHAEL A. LUNDHOLM
12
                                                   Attorneys for Defendant
13                                             WEST THOMAS PARTNERS, LLC
14
15 Dated: August 23, 2022
16
17
18
                                   By                   /s/ Ryan Gustafson
19                                                     RYAN GUSTAFSON
20                                                  CHRISTOPHER T. AUMAIS
                                                     CHRISTOPHER B. GOOD
21
22
                                                       Attorneys for Plaintiff
23
                                                        JOHN FORRETT
24
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     SMRH:4874-6374-4047.2                                 JOINT STIPULATION AND ORDER TO
                                                          FURTHER EXTEND CASE DEADLINES
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 1            PURSUANT TO THE PARTIES’ JOINT STIPULATION, IT IS
 2 HEREBY ORDERED THAT:
 3            Good cause appearing therefore, the last day for the Parties to meet and
 4 confer as to case management issues is September 7, 2022, the deadline to file
 5 a Rule 26(f) Report, complete initial disclosures and file a Case Management
 6 Statement is extended to September 21, 2022, and the Initial Case Management
 7 Conference is moved to September 28, 2022, at 1:00 p.m. with the motion
 8 hearing via Zoom webinar.
 9
10 IT IS SO ORDERED.
                                                                       ISTRIC
           August 23, 2022
11 Dated: _______________                                         TES D      TC
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                                             HONORABLE NATHANAEL M. COUSINS
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     SMRH:4874-6374-4047.2                            JOINT STIPULATION AND [PROPOSED] ORDER
                                                           TO FURTHER EXTEND CASE DEADLINES
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 1                                SIGNATURE ATTESTATION
 2            I hereby attest that all signatories listed above, on whose behalf this
 3 stipulation is submitted, concur in the filing’s content and have authorized the filing.
 4
 5 Dated: August 23, 2022                      By: /s/ Christopher Van Gundy
                                               Attorney for Defendant
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                                               West Thomas Partners
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                                                             TO FURTHER EXTEND CASE DEADLINES
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 1                                         PROOF OF SERVICE
 2                           John Forrett v. West Thomas Partners, LLC d/b/a GFB
 3                                           5:22-cv-02048-NC
 4                  STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 5        At the time of service, I was over 18 years of age and not a party to this
   action. I am employed in the County of San Francisco, State of California. My
 6 business address is Four Embarcadero Center, 17th Floor, San Francisco, CA
   94111-4109.
 7
          On August 23, 2022, I served true copies of the following document(s)
 8 described as JOINT STIPULATION AND [PROPOSED] ORDER TO
   FURTHER EXTEND CASE DEADLINES on the interested parties in this action
 9 as follows:
10                                            SERVICE LIST
11
12 Christopher T. Aumais,                             Attorneys for Plaintiff
   Christopher B. Good,                               JOHN FORRETT
13
   Ryan Gustafson,
14 GOOD GUSTAFSON AUMAIS LLP
   2330 Westwood Boulevard, Suite 103
15
   Los Angeles, California 90064
16 Telephone: (310) 274-4663
   E-mail: cta@ggallp.com
17
           cbg@ggallp.com
18         jrg@ggallp.com
19 Steffan T. Keeton                                  Attorneys for Plaintiff
20 THE KEETON FIRM LLC                                JOHN FORRETT
   100 S Commons, Ste. 102
21 Pittsburgh PA 15212
22 Tel: (888) 412-5291
   Email: stkeeton@keetonfirm.com
23
24        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
   the document(s) with the Clerk of the Court by using the CM/ECF system.
25 Participants in the case who are registered CM/ECF users will be served by the
   CM/ECF system. Participants in the case who are not registered CM/ECF users will
26 be served by mail or by other means permitted by the court rules.
27       I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct and that I am employed in the office
28 of a member of the bar of this Court at whose direction the service was made.
                                                                                5:22-cv-02048-NC
     SMRH:4874-6374-4047.2                                JOINT STIPULATION AND [PROPOSED] ORDER
                                                               TO FURTHER EXTEND CASE DEADLINES
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 1            Executed on August 23, 2022, at San Francisco, California.
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                                                 Justin Mychel Robinson-Williams
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